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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

OCA-GREATER HOUSTON, LEAGUE                   §
OF WOMEN VOTERS OF TEXAS,                     §
REVUP–TEXAS, and WORKERS                      §
DEFENSE ACTION FUND,                          §
                                              §
     Plaintiffs,                              §
                                              §
                                              §
                                              §
v.                                            §   Civil Case No. 1:21-CV-0780-XR
                                              §
TEXAS SECRETARY OF STATE JOHN                 §   [Consolidated Lead Case No. 5:21-CV-
SCOTT, in his official capacity, TEXAS        §   0844-XR]
ATTORNEY GENERAL KEN PAXTON,                  §
in his official capacity, HARRIS COUNTY       §
ELECTIONS ADMINISTRATOR                       §
CLIFFORD TATUM in his official                §
capacity, TRAVIS COUNTY CLERK                 §
REBECCA GUERRERO, in her official             §
capacity, HARRIS COUNTY DISTRICT              §
ATTORNEY KIM OGG, in her official             §
capacity, TRAVIS COUNTY DISTRICT              §
ATTORNEY JOSÉ GARZA, in his official          §
capacity;                                     §
                                              §
     Defendants.                              §
                                              §

          PLAINTIFFS’ MOTION TO WITHDRAW APPEARANCE AS COUNSEL

         Pursuant to Local Court Rule AT-3, Plaintiffs OCA-Greater Houston, League of Women

Voters of Texas, REVUP-Texas, and Workers Defense Action Fund (“Plaintiffs”) file this

Motion for Withdrawal of Counsel to withdraw Ryan Cox because Mr. Cox is no longer

employed at Texas Civil Rights Project. All other undersigned counsel of record will remain.

Plaintiffs’ counsel attempted to confer with counsel for all other parties in this consolidated

litigation. The HAUL, LUPE, and MFV plaintiffs, along with the State, Intervenor, Harris

County Elections Administrator, and Bexar County defendants indicated that they did not oppose

this motion.
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Dated: November 15, 2022

                                          Respectfully submitted,

                                          By: /s/ Zachary Dolling

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                             CERTIFICATE OF CONFERENCE

       I certify that on November 2, 2022, I conferred via e-mail with counsel for all parties

regarding the contents of this motion. Counsel for the HAUL, LUPE, and MFV plaintiffs, along

with counsel for the State, Intervenor, Harris County Elections Administrator, and Bexar County

defendants indicated that they did not oppose this motion. I did not receive a response from

counsel for the remaining parties.

                                                          /s/ Zachary Dolling




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                                CERTIFICATE OF SERVICE

       By my signature below, I certify that a true and correct copy of the foregoing has been

served on all counsel of record on November 15, 2022, through the Electronic Case File System

of the Western District of Texas.

                                                  /s/ Zachary Dolling




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